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February 10 , 2019

 

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Federal Correctional Institu_tion I[' q/ 4”’
1640 Sl<y View Drive Cl:l\iry. u.s.msch coum'

Bruceton `Mills, West Virginia 26525 BYM

Karen Mitchell

district court of the United States of America
501 West Tenth Street

Fort Worth, Texas 76102

Cnristopher Robert Weast 0

 

 

This letter is being sent to your office to effect a notice of appeal on miscel+
laneous case number 4:19-mc-00007-A. If there are any fees which are associated
with this notice of appeal, please instru€t Plaintiff how to make his payment

in lawful money of the United States of America or waive all such fees assoc-
iated with this appeal. Plaintiff is appealing the decision by JOHN MCBRYDE
wherein he ordered Plaintiff s fifty one page bill striken from the record.
Thank you for your time and consideration.

Date 6 5 Paint

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